
Catron, J.
delivered the opinion of the court.
Will debt lie upon this note? This court decided the action of debt would not lie, in Gamble vs. Hutchinson, Peck’s Rep. 180. This case has been since followed, and cannot be departed from. Bank notes are treated as depreciated cash, and their value must be ascertained by the assessment of a jury, which cannot be done in this form of action.
That the note is negotiable, and the endorser liable in an action of case, sounding in damages, we have no doubt. Still he is as liable to pay, on the contingency of the principal failing and notice thereof given, only to the extent the principal was, to wit, the specie value of the bank notes.
It is averred in the declaration, that North Carolina bank notes were of equal value with specie. If the averment helps the declaration in this case, debt may be brought upon a note payable in horses, or corn. No issue can be found upon the averment; and why? Because was such an issue taken, the jury could of course find less *452than the sum declared for; the action would sound in damages, and lose the features of an action of debt, which always goes for a stated and certain sum.
Judgment affirmed.
